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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                               OXFORD DIVISION




JACOB COOPER                                                                 PLAINTIFF

v.                                        CIVIL ACTION NO: 3:14-cv-091-MPM-RDP

LYNN BROWN and
CITY OF HORN LAKE, MISSISSIPPI                                              DEFENDANTS




                        ORDER OF DISMISSAL WITH PREJUDICE

       On joint motion of the parties to this cause, it having been fully and finally compromised

and settled,

       IT IS, THEREFORE, ORDERED, that this cause is hereby dismissed with prejudice,

with each party to bear its own costs.

       SO ORDERED, this the 24th day of February, 2017.



                                            /s/ MICHAEL P. MILLS
                                            UNITED STATES DISTRICT JUDGE
                                            NORTHERN DISTRICT OF MISSISSIPPI
